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                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Elisabeth A. Shumaker                                                               Chris Wolpert
  Clerk of Court                         May 10, 2017                            Chief Deputy Clerk




  Mr. Matthew Dykman
  United States District Court for the District of New Mexico
  Office of the Clerk
  100 North Church Street, Suite 280
  Las Cruces, NM 88001

  Mr. Zachary R. Cormier
  Mr. Sean Olivas
  Keleher & McLeod
  201 Third Street NW, Suite 1200
  Albuquerque, NM 87103

  Mr. John R. Tiwald
  6121 Indian School Road NE, Suite 210
  Albuquerque, NM 87110

  RE:       17-2051, Montoya, et al v. New Mexico Institute of Mining, et al
            Dist/Ag docket: 2:16-CV-00386-MCA-SMV

  Dear Clerk and Counsel:

  Please be advised that the court issued an order today dismissing this case.

  In addition, please be advised that the mandate for this case has issued today. The clerk of
  the originating court or agency shall file accordingly.
        Case 2:16-cv-00386-MCA-SMV Document 31 Filed 05/10/17 Page 2 of 2
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  Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court




  EAS/at




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